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FOR THE WESTERN DISTRICT OF TENNESSEE - '5_
WESTERN DIVISION .
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UNITED sTATEs oF AMERICA (}_EH(,U.S: 551?5553500\5“

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Plaintiffr
vs cR. No. 04-20478-M1
ANTONIO owENs

Defendant{s)

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ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause was set Report on Friday, July 22, 2005 at 9:00 a.m.
Counsel for the defendant requested a continuance of the present setting.
The continuance is necessary to allow for additional preparation in the
case.

The Court granted the request and continued the matter for Report
to Friday, October 28, 2005 at 9:00 a.m. with a trial date of Monday,
November 7, 2005 at 9:30 a.m.

The period from August 12, 2005 through November 18, 2005 is
excludable under lB U.S C. § 3l6l(h){8)(B)(iv) to allow defense counsel
additional time to prepare.

IT IS SO ORDERED this the 9?| day Of July, 2005.

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JO PHIPPS MCCALLA
U TED STATES DISTRICT JUDGE

 

T…s document entered on the dockets set 'n compiiancs
With Huie 55 and/sr 32(b) FRCrP on

   

   

UNITED sTATE DRISTIC COUR - WTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 34 in
case 2:04-CR-20478 Was distributed by faX, mail, or direct printing on
July 22, 2005 to the parties listed.

 

 

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Honorable J on McCalla
US DISTRICT COURT

